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                                    23-1380
             IN THE UNITED STATES COURT OF APPEALS
                         FOR THE TENTH CIRCUIT
    JARED POLIS, in his official capacity as Governor of the State of Colorado,

                                                         Defendant – Appellee,

                                         v.

          ROCKY MOUNTAIN GUN OWNERS and ALICIA GARCIA,

                                                        Plaintiffs – Appellants,
        On Appeal from the United States District Court, District of Colorado
                           The Honorable John L. Kane
                                Senior District Judge
                     District Court Case No. 23-cv-02563-JLK

     APPELLEE’S SUPPLEMENTAL RESPOSNE BRIEF FOLLOWING
               UNITED STATES V. RAHIMI, NO. 22-915




  PHILIP J. WEISER                         Colorado Department of Law
  Attorney General                         1300 Broadway, 6th Floor
  MICHAEL T. KOTLARCZYK *                  Denver, Colorado 80203
  Assistant Solicitor General              Telephone: 720-508-6187
  MATTHEW J. WORTHINGTON*                  E-Mail: mike.kotlarczyk@coag.gov;
  Assistant Attorney General               matt.worthington@coag.gov
                                           *Counsel of Record

                                           Attorneys for Governor Polis
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    I.       Introduction

          The Supreme Court’s recent opinion in United States v. Rahimi, 144 S. Ct. 1889

 (2024), is a serious blow to the Plaintiffs’ efforts to enjoin Colorado’s Waiting Period Act.

 Rahimi makes clear that a facial challenge, like Plaintiffs’, “is the most difficult challenge

 to mount successfully,” id. at 1898 (quotations omitted); that certain firearm regulations

 remain presumptively lawful under the Court’s Second Amendment jurisprudence; and

 that the Second Amendment is not “trapped in amber” and limited to allowing only the

 regulations that existed in the 1790s, id. at 1897. And Rahimi did not even address the

 plain text of the Second Amendment, which the district court correctly held is not

 implicated by Colorado’s Waiting Period Act because the law does not impact the

 Plaintiffs’ ability to “keep” or “bear” arms.

          Plaintiffs’ efforts to avoid the clear import of Rahimi are unavailing. Plaintiffs read

 Rahimi as saying things it does not and repeatedly attribute quotations to Rahimi that are

 found nowhere in the opinion. While the district court’s denial of a preliminary injunction

 was correct under the standard articulated in New York State Rifle & Pistol Association,

 Inc. v. Bruen, 597 U.S. 1 (2022), Rahimi provides even further support that Colorado’s

 Waiting Period Act is constitutional under the Second Amendment.

    II.      Rahimi does not support Plaintiffs’ plain text arguments.

          In denying the preliminary injunction, the district court held that Plaintiffs’

 challenge failed at the first step of Bruen because Colorado’s Waiting Period Act did not

 implicate the plain text of the Second Amendment. See App. Vol. 3 at 750-55. Rahimi did

 not address Bruen’s first step, because the conduct the defendant sought to engage in

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 there—possessing a firearm—clearly implicates the Second Amendment’s plain text. The

 Court thus proceeded to address Bruen’s second step and concluded that 18 U.S.C.

 § 922(g)(8) “is consistent with the principles that underpin our regulatory tradition.”

 Rahimi, 144 S. Ct. at 1898. Rahimi leaves undisturbed the district court’s conclusion that

 the Waiting Period Act does not implicate the Second Amendment’s plain text.

        Plaintiffs are of two minds about this. On the one hand, Plaintiffs correctly

 acknowledge that the Supreme Court did not even “address the plain-text analysis in

 Rahimi” because “[t]here was no need” given how clearly 18 U.S.C. § 922(g)(8)

 implicates the right to keep and bear arms. Pls.’ Supp. Br. 2. But Plaintiffs also argue that

 Rahimi somehow “bolsters [their] position on Bruen Step 1.” Id. at 1.

        To support this internally contradictory argument—that Rahimi bolsters their

 argument while simultaneously saying nothing about it—Plaintiffs miscite the Supreme

 Court’s own holdings. According to Plaintiffs, “[t]he Court’s precedents clearly

 established that a statute governing the ‘possessing’ or ‘receiving’ of a firearm is covered

 by the Second Amendment’s plain text.” Pls.’ Supp. Br. 2 (quoting Bruen & Dist. of

 Columbia v. Heller, 554 U.S. 570 (2008)). But in neither of the cases cited by Plaintiffs

 did the Court use the word “receiving” to describe the right protected by the Second

 Amendment. The quoted word simply does not appear in the Supreme Court’s Second

 Amendment cases when describing the scope of the Amendment’s plain text. 1



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  To the extent Plaintiffs meant that 18 U.S.C. § 922(g)—rather than Heller or Bruen—
 uses the word “receiving,” that doesn’t help Plaintiffs either, as the opinion in Rahimi
 does not even mention that fact.
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        Plaintiffs’ attempt to link “possessing” and “receiving” despite the Supreme Court

 never having done so is telling. As argued in the Governor’s Answer Brief, Heller and

 Bruen lack any indication that “receiving” firearms, especially through commercial sales,

 is covered by the Second Amendment. See Ans. Br. 16-23. The same can now also be

 said of Rahimi. Heller engaged in extensive linguistic inquiry into the meaning of the

 words “keep” and “bear.” 554 U.S. at 581-92. But neither Heller, Bruen, nor Rahimi

 suggest that acquisition falls within the meanings of those words, let alone commercial

 acquisition, let alone immediate commercial acquisition. See McRorey v. Garland, 99

 F.4th 831, 838 (5th Cir. 2024) (“[O]n its face ‘keep and bear’ does not include purchase . .

 . . [A]n implication is not the same thing as being covered by the plain text of the

 amendment.”).

        Finally, Plaintiffs also attempt to read Bruen’s initial step out of existence

 altogether. According to Plaintiffs, the plain text inquiry is meant only to “ensure[] that

 courts apply Bruen to ‘firearms regulations,’ and not other types of laws.” Pls.’ Supp. Br.

 3. Surely not. There would have been no need for Heller to devote substantial analysis to

 explaining the meaning of “keep” and “bear” if all the Court meant was: these are firearm

 regulations, and not, say, environmental laws. This is an absurd reading of these cases

 and ignores the repeated emphasis that the Court has placed on the plain text of the

 Second Amendment since Heller. See, e.g., Rahimi,144 S. Ct. at 1910-11 (Kavanaugh, J.,

 concurring) (“The first and most important rule in constitutional interpretation is to heed

 the text—that is, the actual words of the Constitution—and to interpret that text according

 to its ordinary meaning as originally understood.”).

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     III.   Rahimi confirms the ongoing validity of “presumptively lawful” firearm
            regulations, including regulations on commercial sales.

        Plaintiffs next err by misinterpreting Rahimi’s discussion of “presumptively lawful

 regulatory measures.” This Court previously recognized that “six of the nine Justices

 pointed out that Bruen was not casting any doubt” on the presumptively lawful category

 of regulations. Vincent v. Garland, 80 F.4th 1197, 1201-02 (10th Cir. 2023), vacated in

 light of Rahimi, 2024 WL 3259668. Rahimi now makes clear that eight justices continue

 to recognize “that many . . . prohibitions [on firearm possession in the home], like those

 on the possession of firearms by ‘felons and the mentally ill,’ are ‘presumptively

 lawful.’” Rahimi, 144 S. Ct. at 1902 (quoting Heller, 554 U.S. at 626, 627, n.26). This

 puts to rest Plaintiffs’ argument in their reply brief that only a “plurality” in Heller

 recognized the presumptively lawful category. See Reply Br. at 11 (asserting that footnote

 26 in Heller “had the votes of only four Justices, and is thus not binding precedent.”). 2

        In their attempt to minimize the import of this part of Rahimi, Plaintiffs again

 misattribute a quotation to the Supreme Court. According to Plaintiffs, Rahimi “said . . .

 that Bruen requires that the ‘only’ way that the government can justify a firearms

 regulation is with historical tradition.” Pls.’ Supp. Br. 7 (citing Rahimi, 144 S. Ct. at

 1896). Rahimi just does not say this. The quoted word “only” does not appear on the cited

 page and does not appear elsewhere in the opinion in the context Plaintiffs cite.




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   Plaintiffs were demonstrably incorrect on this point even before Rahimi. The five-
 justice majority in Heller joined Justice Scalia’s majority opinion in full.
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        Plaintiffs may have intended to cite Bruen, which described the second part of its

 test as being met “[o]nly if a firearm regulation is consistent with this Nation’s historical

 tradition.” Bruen, 597 U.S. at 17. But the error serves to highlight what Rahimi did not

 say—Rahimi did not state that presumptively lawful regulations require grounding in

 history and tradition. Instead, the eight-justice majority recognized that “many” laws that

 “forbid firearm possession” are “presumptively lawful.” Rahimi, 144 S. Ct. at 1902.

 Rahimi, like Heller before it, cited no history in coming to this conclusion.

        A recent decision from the District of New Mexico—denying a preliminary

 injunction against New Mexico’s seven-day waiting period for commercial firearm

 sales—shows that Rahimi confirms the ongoing validity of the presumptively lawful

 categories from Heller. See Ortega v. Lujan Grisham, --- F. Supp. 3d ---, 2024 WL

 3495314 (D.N.M. July 22, 2024). Like in this case, the court in Ortega found that New

 Mexico’s waiting period did not implicate the Second Amendment’s plain text and that,

 even if it did, the law was consistent with the Nation’s historical tradition of firearm

 regulation. Id. at *40. The district court also concluded that the waiting period law was

 “presumptively Constitutional, because it does not implicate conduct covered by the

 Second Amendment’s plain text and is a longstanding condition or qualification on the

 commercial sale of arms.” Id. at *35. Rejecting Plaintiffs’ argument that presumptively

 lawful regulations have been subsumed by Bruen’s two-part test, the court acknowledged

 that the “suggestion from the Supreme Court [in Rahimi] that Heller’s presumptively

 lawful categories remain intact” provides “no sound reason to conclude that Bruen

 abrogated Heller’s exception for laws imposing conditions and qualifications on the

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 commercial sale of arms.” Id. at *33-34; accord McRorey, 99 F.4th at 836 (“Bruen did

 nothing to disturb” the presumptive lawfulness of commercial regulations). Such

 conditions and qualifications, like the Waiting Period Act, remain presumptively lawful.

        Plaintiffs next argue “Rahimi is notable for” not deciding the case on the grounds

 that 18 U.S.C. § 922(g)(8) is presumptively lawful. Pls.’ Supp. Br. 6. But the government

 did not even argue that § 922(g)(8) was valid on those grounds. See Br. for the United

 States, United States v. Rahimi, 2023 WL 5322645. It is thus hardly notable that the Court

 did not decide an issue not raised by the parties. To the contrary, the notable aspect of the

 Court’s invocation of “presumptively lawful” regulations was that even though the parties

 did not argue that § 922(g)(8) was presumptively lawful, the Court went out of its way to

 acknowledge the continuing validity of the “presumptively lawful” categorization of

 regulations. Rahimi, 144 S. Ct. at 1902. This includes “conditions and qualifications on

 the commercial sale of arms.” See id. at 1923 (Kavanaugh, J., concurring) (“‘laws

 imposing conditions and qualifications on the commercial sales of arms’ are

 presumptively constitutional”) (quoting Heller).

        Additionally, Plaintiffs’ interpretation of the “presumptively lawful” category of

 regulations effectively removes the presumption altogether. If, as Plaintiffs argue,

 “presumptively lawful” regulations must independently satisfy Bruen’s two-step

 framework, then there is no value in calling out certain categories of regulations as

 presumptively lawful. Plaintiffs’ argument not only renders the word “presumptively”

 superfluous, it renders the entire discussion of “presumptively lawful” regulations—

 discussed in Heller, in multiple concurrences in Bruen, and in Rahimi—pointless. The

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 Court should not treat a repeated pronouncement from the Supreme Court so lightly. See,

 e.g., Surefoot LC v. Sure Foot Corp., 531 F.3d 1236, 1243 (10th Cir. 2008) (Gorsuch, J.)

 (“[O]ur job as a federal appellate court is to follow the Supreme Court’s directions, not

 pick and choose among them as if ordering from a menu.”).

    IV.      Rahimi acknowledges that historical laws temporarily removing arms
             from individuals are relevantly similar to modern laws.

          Finally, if the Court does proceed to the second step of Bruen, Rahimi also lends

 further support to the historical analogues provided by the Governor. The district court

 found that historical laws against armed intoxication and firearms licensing were

 relevantly similar to Colorado’s Waiting Period Act. App. Vol. 3 at 766-72. Both sets of

 laws were temporary in nature—until the individual was no longer intoxicated, for

 example, or until a firearms license issued. Rahimi also stressed that § 922(g)(8), like

 historical surety laws, was “of limited duration” and “temporary.” Rahimi, 144 S. Ct. at

 1902. So, too, with the Waiting Period Act, as individuals can take possession of

 purchased firearms three days after purchase. Unlike the law at issue in Bruen, which

 “effectively presumed that no citizen had [a Second Amendment] right, absent a special

 need,” id., the Waiting Period Act “presupposes that all individuals may exercise their

 Second Amendment right to possess and carry firearms.” Ortega, 2024 WL 3495314, at

 *35. Like historic intoxication and licensing laws, a temporary delay is thus justified to

 prevent impulsive acts of firearms violence.

    V.       Conclusion

          The Court should affirm the district court’s denial of a preliminary injunction.


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                             PHILIP J. WEISER
                             Attorney General

                             /s/ Michael T. Kotlarczyk
                             Michael T. Kotlarczyk, Assistant Solicitor General*
                             Matthew J. Worthington, Assistant Attorney General*
                             1300 Broadway, 6th Floor
                             Denver, CO 80203
                             Telephone: (720) 508-6124
                             Email: mike.kotlarczyk@coag.gov;
                             matt.worthington@coag.gov

                             Attorneys for Governor Jared S. Polis

                             *Counsel of Record




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